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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

FREDERIC S. MORTON,                            )
                                               )
        Plaintiff,                             )
                                               )
vs.                                            ) CIVIL ACTION NO.: 17-CV-00166-WS-M
                                               )
TASTE BUDS MANAGEMENT, LLC,                    )
et al.,                                        )
                                               )
        Defendants.                            )

                           JOINT STIPULATION FOR DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties jointly stipulate to the dismissal of

this action, with prejudice, with each party to bear his or its own costs.

        Undersigned counsel for Defendant Taste Buds Management, LLC has express

permission from counsel for Plaintiff Frederic S. Morton to file this document as a joint

stipulation.

        Respectfully submitted this 28th day of June, 2017.

/s/ Andrew M. Jones                                 /s/ Christopher S. Williams
ANDREW M. JONES (ASB-4497-E38A)                     MICHAEL C. NIEMEYER (ASB-0703-
Counsel for Plaintiff Frederic S. Morton            M71M)
P. O. Box 1746                                      CHRISTOPHER S. WILLIAMS
Mobile, AL 36633                                    (WILLC7030)
                                                    Counsel for Defendant Taste Buds
                                                    Management, LLC
                                                    HAND ARENDALL LLC
                                                    Post Office Box 1499
                                                    Fairhope, Alabama 36533
                                                    Telephone: (251) 990-0079
                                                    Facsimile: (251) 210-0606
                                                    mniemeyer@handarendall.com
                                                    Post Office Box 123
                                                    Mobile, Alabama 36601
                                                    Telephone: (251) 432-5511
                                                    Facsimile: (251) 544-1601
                                                    cwilliams@handarendall.com
